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                         KEKER, VAN NEST & PETERS LLP             MORGAN, LEWIS & BOCKIUS LLP
                     1   Robert A. Van Nest (SBN 84065)           Richard S. Taffet (pro hac vice)
                         rvannest@keker.com                       richard.taffet@morganlewis.com
                     2   Eugene M. Paige (SBN 202849)             101 Park Avenue
                         epaige@keker.com                         New York, NY 10178-0060
                     3   Justina Sessions (SBN 270914)            Telephone: (212) 309-6000
                         jsessions@keker.com                      Facsimile: (212) 309-6001
                     4   633 Battery Street
                         San Francisco, CA 94111-1809             MORGAN, LEWIS & BOCKIUS LLP
                     5   Telephone: (415) 391-5400                Willard K. Tom (pro hac vice)
                         Facsimile: (415) 397-7188                willard.tom@morganlewis.com
                     6                                            1111 Pennsylvania Avenue NW
                         CRAVATH, SWAINE & MOORE LLP              Washington, DC 20004-2541
                     7   Gary A. Bornstein (pro hac vice)         Telephone: (202) 739-3000
                         gbornstein@cravath.com                   Facsimile: (202) 739-3001
                     8   Yonatan Even (pro hac vice)
                         yeven@cravath.com                        MORGAN, LEWIS & BOCKIUS LLP
                     9   825 Eighth Avenue                        Geoffrey T. Holtz (SBN 191370)
                         New York, New York 10019-7475            gholtz@morganlewis.com
                    10   Telephone: (212) 474-1000                One Market, Spear Street Tower
                         Facsimile: (212) 474-3700                San Francisco, CA 94105-1596
                    11                                            Telephone: (415) 442-1000
                         Attorneys for Defendant                  Facsimile: (415) 442-1001
                    12   QUALCOMM INCORPORATED
                    13
                                                UNITED STATES DISTRICT COURT
                    14
                                             NORTHERN DISTRICT OF CALIFORNIA
                    15
                                                       SAN JOSE DIVISION
                    16

                    17
                         FEDERAL TRADE COMMISSION,                 Case No. 5:17-cv-00220-LHK-NMC
                    18
                                          Plaintiff,                DECLARATION OF GEOFFREY T.
                    19                                              HOLTZ IN SUPPORT OF
                                    vs.                             DEFENDANT QUALCOMM’S
                    20
                         QUALCOMM INCORPORATED,                     MOTION TO EXCLUDE EXPERT
                    21   a Delaware corporation,                    REPORTS OF RICHARD L.
                                                                    DONALDSON
                    22                    Defendant.
                                                                    Date:    October 18, 2018
                    23                                              Time:    1:30 p.m.
                                                                    Dept.:   Courtroom 8, 4th Floor
                    24                                              Judge:   Hon. Lucy H. Koh

                    25

                    26                                              Trial Date:         January 4, 2019
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MORGAN, LEWIS &                                                                        HOLTZ DECLARATION ISO
 BOCKIUS LLP                                                  1                             MOTION TO EXCLUDE
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                  Case No. 5:17-cv-00220-LHK-NMC
                           Case 5:17-cv-00220-LHK Document 905 Filed 10/15/18 Page 2 of 2



                     1                            DECLARATION OF GEOFFREY T. HOLTZ

                     2   I, Geoffrey T. Holtz, declare and state that:

                     3          1.      I am an attorney licensed to practice law in the State of California, a partner of

                     4   Morgan, Lewis & Bockius LLP, and counsel of record for Defendant Qualcomm (“Qualcomm”)

                     5   Incorporated. I submit this declaration in support of Qualcomm’s Motion To Exclude Expert

                     6   Reports Of Richard L. Donaldson. I have personal knowledge of the facts set forth herein, or my

                     7   knowledge is based upon my review of records of this case. If called upon as a witness in this

                     8   action, I could and would testify competently thereto.

                     9          2.      Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report of

                    10   Richard L. Donaldson, dated May 24, 2018.

                    11          3.      Attached hereto as Exhibit 2 is a true and correct copy of the Rebuttal Report of

                    12   Richard L. Donaldson, dated July 26, 2018.

                    13          4.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

                    14   deposition transcript of Richard L. Donaldson, dated August 15, 2018.

                    15

                    16          I declare under penalty of perjury under the laws of the United States of America that the

                    17   foregoing is true and correct.

                    18          Executed on this 30th day of August, 2018 in San Francisco, California.

                    19
                    20                                                            /s/ Geoffrey T. Holtz
                                                                                  Geoffrey T. Holtz
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MORGAN, LEWIS &
 BOCKIUS LLP                                                              2                                    Holtz Declaration
 ATTORNEYS AT LAW                                                                            Case No. 5:17-cv-00220-LHK-NMC
  SAN FRANCISCO
